                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      NO. 3:10-00258
                                                  )      JUDGE CAMPBELL
VICENTE ARELLANO GARCIA                           )

                                          ORDER

       Pending before the Court is a Motion For Leave To File Under Seal (Docket No. 603).

The Motion is GRANTED.

       The sentencing hearing in this case, currently set for May 16, 2014, is CONTINUED

until August 7, 2014, at noon.

       It is so ORDERED.

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                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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